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                                        No. 23-40076

                    UNITED STATES COURT OF APPEALS
                        FOR THE FIFTH CIRCUIT

 R J REYNOLDS TOBACCO COMPANY; SANTA FE NATURAL TOBACCO COMPANY,
      INCORPORATED; ITG BRANDS LLC; LIGGETT GROUP LLC; NEOCOM,
    INCORPORATED; RANGILA ENTERPRISES, INCORPORATED; RANGILA LLC;
         SAHIL ISMAIL, INCORPORATED; IS LIKE YOU, INCORPORATED,
                                      Plaintiffs-Appellees,
                                                v.
  FOOD & DRUG ADMINISTRATION; UNITED STATES DEPARTMENT OF HEALTH
   AND HUMAN SERVICES; ROBERT M. CALIFF, COMMISSIONER OF FOOD AND
   DRUGS; XAVIER BECERRA, SECRETARY, U.S. DEPARTMENT OF HEALTH AND
                           HUMAN SERVICES,
                                     Defendants-Appellants.

                   On Appeal from the United States District Court
                         for the Eastern District of Texas
                          No. 6:20-cv-00176 (Barker, J.)

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                  CERTIFICATE OF INTERESTED PERSONS

                R J Reynolds Tobacco Company v. Food & Drug Administration,
                                       No. 23-40076

      The undersigned counsel of record certifies that the following listed persons and

entities as described in the fourth sentence of Rule 28.2.1 have an interest in the

outcome of this case. These representations are made in order that the judges of this

Court may evaluate possible disqualification or recusal:

      1.       Plaintiff-Appellee R.J. Reynolds Tobacco Company is a North

Carolina corporation. R.J. Reynolds Tobacco Company is a direct, wholly owned

subsidiary of R.J. Reynolds Tobacco Holdings, Inc., which is a direct, wholly owned

subsidiary of Reynolds American Inc., which is an indirect, wholly owned subsidiary of

British American Tobacco, p.l.c., a publicly traded corporation.

      2.       Plaintiff-Appellee Santa Fe Natural Tobacco Company, Incorporated

is a New Mexico corporation headquartered in North Carolina. Santa Fe Natural

Tobacco Company is a direct, wholly owned subsidiary of Reynolds American Inc.,

which is an indirect, wholly owned subsidiary of British American Tobacco, p.l.c., a

publicly traded corporation.

      3.       Plaintiff-Appellee ITG Brands LLC is a Texas limited liability company

headquartered in North Carolina. ITG Brands, LLC is a limited liability company with

its sole member being ITG Brands Holdpartner LP. ITG Brands Holdpartner LP’s

general partner is ITG Brands Holdco LLC and its limited partner is ITG Holdings



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USA Inc. The sole member of ITG Brands Holdco LLC is ITG Holdings USA, Inc.

ITG Holdings USA Inc. is a wholly owned subsidiary of Imperial Tobacco US Holdings

BV, which is a Dutch private limited company. Imperial Tobacco US Holdings BV is

an indirect subsidiary of Imperial Brands plc, which is a publicly traded United

Kingdom public limited company.

      4.       Plaintiff-Appellee Liggett Group LLC is a Delaware limited liability

company headquartered in North Carolina. Liggett Group LLC is a direct, wholly

owned subsidiary of VGR Holding LLC, which is a direct, wholly owned subsidiary of

Vector Group Ltd., a publicly traded corporation.

      5.       Plaintiff-Appellee Neocom, Incorporated is a Texas corporation.

      6.       Plaintiff-Appellee Rangila Enterprises, Incorporated is a Texas

corporation.

      7.       Plaintiff-Appellee Rangila LLC is a Texas limited liability company.

      8.       Plaintiff-Appellee Sahil Ismail, Incorporated is a Texas corporation.

      9.       Plaintiff-Appellee Is Like You, Incorporated is a Texas corporation.

      10.      Defendant-Appellant Food & Drug Administration (“FDA”) is a

federal agency. FDA regulates cigarettes marketed in the United States using authority

delegated to it by the Department of Health and Human Services (“HHS”). 21 U.S.C.

§ 387a(e).

      11.      Defendant-Appellant United States Department of Health and

Human Services is a federal agency. Under the Food, Drug, and Cosmetic Act and

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the Tobacco Control Act, HHS is responsible for regulating cigarettes marketed in the

United States. Id. §§ 321(d), 387a(a).

      12.    Defendant-Appellant Robert M. Califf, Commissioner of Food and

Drugs, has been delegated authority to administer the Tobacco Control Act. See 2016

FDA      Staff    Manual      Guide      §      1410.10(1)(A)(1)   (Feb.    22,     2023),

https://tinyurl.com/2u7edjen.

      13.    Defendant-Appellant Xavier Becerra, Secretary, U.S. Department of

Health and Human Services is the federal official responsible for the implementation

and enforcement of the Tobacco Control Act and the Rule.

      14.    This appeal potentially impacts the financial interests of the tobacco

industry as a whole, including manufacturers, distributors, and retailers, as well as

consumers.

      15.    The parties and their counsel are:

Plaintiffs-Appellees                            Counsel

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              STATEMENT REGARDING ORAL ARGUMENT

      Plaintiffs-Appellees R.J. Reynolds Tobacco Company; Santa Fe Natural Tobacco

Company, Incorporated; ITG Brands LLC; Liggett Group LLC; Neocom,

Incorporated; Rangila Enterprises, Incorporated; Rangila LLC; Sahil Ismail,

Incorporated; and Is Like You, Incorporated request oral argument. This case raises a

host of important questions, including the scope of First Amendment protections

against compelled speech. Oral argument would materially assist the Court in resolving

these questions.




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                         STATEMENT OF THE ISSUES

      FDA promulgated an unprecedented rule requiring cigarette manufacturers to

devote the top 50% of the front and back of cigarette packages and 20% of cigarette

advertising to shocking and misleading graphic warnings. The district court held that

the Rule violated the First Amendment; it then vacated the Rule and issued a declaratory

judgment. The issues presented in this case are:

      1.     Did the district court correctly decide that the Rule violates the First

             Amendment because the government has failed to adequately justify this

             sweeping imposition on Plaintiffs’ freedom of speech?

      2.     Does the Rule violate the Administrative Procedure Act because FDA

             acted arbitrarily and capriciously and failed to provide meaningful notice

             and opportunity to comment?

      3.     Does the Rule violate the Tobacco Control Act because FDA improperly

             changed the number of warnings and added its own textual warnings?

      4.     Was the relief granted by the district court appropriate?

                                INTRODUCTION

      In 2012, the D.C. Circuit struck down the first version of FDA’s graphic-

warnings rule, noting that the Agency had not provided a “shred of evidence” that it

would reduce smoking. R.J. Reynolds Tobacco Co. v. FDA, 696 F.3d 1205, 1219 (D.C. Cir.

2012). FDA has now issued a second version of the rule—requiring similarly grotesque

warnings—but it no longer even asserts that the warnings would have any real-world

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public-health impact. FDA’s inability to defend the rule on this basis has locked it into

a series of extreme and contrived positions in this litigation.

       Lacking evidence to support any other justification, FDA asserts that its

concededly unprecedented Rule may commandeer private speech based on a purely

informational interest. In other words, FDA need not demonstrate that the compelled

disclosure will have any impact on real-world behavior or public-health outcomes; nor

does it need to tie the compelled disclosure to the correction of a deceptive message.

       In its view, the information does not even have to be important. FDA need not

show that its warning is material to the recipient, or even that the government itself has

ever treated the information as significant. Nor does FDA have to make any serious

showing that the thrust of the information is unfamiliar to the public. Instead, FDA

insists it is free to compel whatever more granular messages it wishes, so long as the

specific information imparted is in some sense “new.”

       In addition, the compelled disclosure can include large, grotesque, and shocking

“photorealistic” images. And although such images are inherently subject to multiple

interpretations, the government need not provide any evidence that the public will

interpret the images correctly, or even determine what messages the graphic warnings

are actually sending and whether they are accurate. Indeed, the evidence here showed

that the messages sent by the warnings are both exaggerated and misleading.

       Nor is it necessary for the government to test alternatives, such as

public-information campaigns that it has championed as successful. It is not necessary

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even to test less-intrusive warnings, such as smaller warnings or text-only warnings,

even when there is record evidence that they would perform just as well. Instead, the

government can make compelling speech its first resort.

      Putting these contentions together, FDA’s bottom line is genuinely startling.

FDA believes it could require any product or advertisement to include large, disturbing,

and misleading graphic warnings in the service of “informing” the public of the

government’s messages. No product or advertisement would be safe—because the

government could always pick a more obscure piece of information to convey. And

these rules could not be confined to cigarettes; the First Amendment contains no carve-

out for disfavored products or unpopular messages. See, e.g., Sorrell v. IMS Health Inc.,

564 U.S. 552, 577-78 (2011).

      Unsurprisingly, the district court rejected the government’s arguments in a

careful and straightforwardly correct opinion. Perhaps recognizing the weaknesses of

its position, FDA now offers only a half-hearted legal bricolage in defense of the graphic

component of the warnings, and instead focuses on salvaging the accompanying text.

But the textual warnings, too, violate the First Amendment—not least because their

size and prominence would still impermissibly interfere with and drown out cigarette

manufacturers’ speech. Moreover, FDA has not come close to demonstrating that such

warnings would advance even its purely informational interest. And in any event, as

the district court correctly noted, Congress expressly prohibited the text from being

separated from the graphics.

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      The Rule is equally flawed under the Administrative Procedure Act (“APA”) and

the Tobacco Control Act (“TCA”)—arguments that the district court did not need to

reach. FDA violated the APA by acting arbitrarily and capriciously in several respects,

and by depriving the public of meaningful notice and an opportunity to comment. And

FDA violated the TCA by changing the number and text of the warnings without

statutory authority.

      Finally, contrary to the government’s position, vacatur of the entire Rule was the

correct remedy under longstanding administrative-law principles and this Court’s

precedents.

                        JURISDICTIONAL STATEMENT

      The district court had jurisdiction under 28 U.S.C. §§ 1331 and 2202 and 5 U.S.C.

§ 701 et seq. It entered final judgment in Plaintiffs’ favor on December 7, 2022.

ROA.10221. This Court has jurisdiction under 28 U.S.C. § 1291.

                          STATEMENT OF THE CASE

      A.      The Tobacco Control              Act   Directs   FDA      To    Issue    a
              Graphic-Warnings Rule.

       The TCA requires that cigarette packages and advertising bear one of nine textual

warnings. 15 U.S.C. § 1333(a)(1), (b)(1). It also requires FDA to “issue regulations that

require color graphics depicting the negative health consequences of smoking to

accompany” these warnings. Id. § 1333(d)[1]. Together, the textual warnings and color




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graphics must occupy the top 50% of the front and back of cigarette packages and the

top 20% of cigarette advertising. Id. § 1333(a)(2), (b)(2).

       B.     FDA’s First Graphic-Warnings Rule Compelled Plaintiffs To
              Disseminate Grotesque Anti-Smoking Images in Violation of the
              First Amendment.

       In 2011, FDA issued a rule requiring that all cigarette packages and advertising

bear one of nine disturbing images, including a body with a massive incision, diseased

body parts, and a wailing baby. Required Warnings for Cigarette Packages and Advertisements,

76 Fed. Reg. 36,628 (June 22, 2011) (“2011 Rule”). FDA said that the 2011 Rule would

“reduc[e] the number of Americans…who use cigarettes” by making consumers

“depressed, discouraged, and afraid” to buy them. 76 Fed. Reg. at 36,629, 36,638

(quotation marks omitted).

       The 2011 Rule was quickly invalidated under the First Amendment—first by the

district court and again on appeal by the D.C. Circuit. R.J. Reynolds Tobacco Co. v. FDA,

845 F. Supp. 2d 266, 277 (D.D.C. 2012); R.J. Reynolds, 696 F.3d at 1222.

       The D.C. Circuit held that, for three reasons, the 2011 Rule was not subject to

the standard of scrutiny set forth in Zauderer v. Office of Disciplinary Counsel, 471 U.S. 626

(1985), under which “purely factual and uncontroversial disclosures are permissible if

they are reasonably related to the State’s interest in preventing deception of consumers,

provided the requirements are not unjustified or unduly burdensome.” R.J. Reynolds,

696 F.3d 1205, 1212 (D.C. Cir. 2012), overruled in part by Am. Meat Inst. v. U.S. Dep’t of

Agric., 760 F.3d 18, 31 (D.C. Cir. 2014) (en banc) (quotation marks omitted). First, the

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warnings were not “purely factual.” As “FDA tacitly admit[ted],” the warnings were

“primarily intended to evoke an emotional response, or, at most, shock the viewer into

retaining the information in the text warning.” Id. at 1216. Second, the warnings were

not “uncontroversial”; rather, “many of the images chosen by FDA could be

misinterpreted by consumers.” Id. Third, the warnings were not “reasonably related to

the State’s interest in preventing deception of consumers.”1

      The court then held that the 2011 Rule failed to satisfy the standard set forth in

Central Hudson Gas & Electric Corp. v. Public Service Commission, 447 U.S. 557 (1980). The

court first held that “FDA ha[d] not provided a shred of evidence…showing that the

graphic warnings will ‘directly advance’ its interest in reducing the number of Americans

who smoke.” 696 F.3d at 1219. The court then held that FDA’s asserted interest in

“effectively communicating health information regarding the negative effects of

cigarettes” was “purely informational” and “not an independent interest capable of

sustaining the Rule.” Id. at 1221 (quotation marks omitted). The court therefore

vacated the rule.




      1
        FDA incorrectly asserts that the portion of the opinion holding that Zauderer
did not apply “has since been overruled” by the D.C. Circuit. Br. 11 (citing Am. Meat,
760 F.3d at 22). In reality, American Meat rejected only the third of three independent
reasons for finding Zauderer inapplicable (the consumer-deception holding). 760 F.3d
at 31.

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       C.     FDA’s Second Graphic-Warnings Rule Likewise Compels Plaintiffs
              To Disseminate Grotesque Anti-Smoking Images.

       In 2019, FDA once again issued a proposed graphic-warnings rule. Tobacco

Products; Required Warnings for Cigarette Packages and Advertisements, 84 Fed. Reg. 42,754

(Aug. 16, 2019) (“Proposed Rule”). FDA received extensive comments. See, e.g.,

ROA.124-925. In March 2020, FDA issued the final Rule. 85 Fed. Reg. 15,638,

15,638-710 (Mar. 18, 2020).

       The Rule abandoned FDA’s previously asserted interest of reducing smoking,

repeatedly emphasizing that “increased smoking cessation and decreased initiation are

not the purpose[s] of this rule.” 85 Fed. Reg. at 15,650; see id. at 15,660, 15,665. Instead,

FDA said that the Rule would “promote greater public understanding of the negative

health consequences of cigarette smoking,” particularly by focusing on “less-known

health consequences of smoking.” Id. at 15,640.

       The Rule replaced seven of the Act’s textual warnings with nine new warnings,

and adopted eleven graphic images. Id. at 15,685, 15,708-09. Together, the following

textual warnings and graphic images must occupy the top 50% of the front and back of

cigarette packages and the top 20% of cigarette advertisements. Id. at 15,709; see id. at

15,641.




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             1.     FDA selected warnings that would frighten, shock, and
                    disgust consumers.
      In the 2011 Rule, FDA conceded that it designed the warnings to make

consumers “depressed, discouraged, and afraid” to buy cigarettes. 76 Fed. Reg. at

36,638 (quotation marks omitted). The D.C. Circuit held that those warnings were

“unabashed attempts to evoke emotion (and perhaps embarrassment) and browbeat

consumers into quitting.” R.J. Reynolds, 696 F.3d at 1217.

      The evidence demonstrates that FDA took the same approach here. Notably,

although FDA conducted individual interviews, focus groups, and two consumer

research studies, 84 Fed. Reg. at 42,767, 42,770-71, it avoided asking any study

participants how the new warnings made them feel. ROA.1611-12; see also 85 Fed. Reg.

at 15,668. Nevertheless, many study participants volunteered that the warnings made

them feel frightened, shocked, or disgusted. E.g., ROA.1391, 1401, 1407, 1409, 1411,

1413; see also ROA.1233-34. And instead of seeking to make the warnings more neutral,

FDA repeatedly accepted recommendations to make the images more emotional and

grotesque. ROA.1407, 1417-18, 1420, 1422-23; see also ROA.1234-35.




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       FDA also initially tried to bury evidence of the warnings’ emotional impact.

When FDA issued the Proposed Rule, it refused to release the qualitative study reports,

which included participants’ reactions to the warnings and highlighted FDA’s drive to

make the warnings even more evocative. See 84 Fed. Reg. at 42,767, 42,771. After

several commenters criticized FDA for failing to release the reports, FDA relented—

but only after the comment period had closed. Tobacco Products; Required Warnings for

Cigarette Packages and Advertisements; Additional Materials; Reopening of the Comment Period, 84

Fed. Reg. 60,966, 60,966-68 (Nov. 12, 2019). FDA then gave the public fifteen days to

comment on these nearly 600-page reports. Id.

              2.      FDA’s own analysis shows that the selected warnings would
                      mislead consumers and convey inaccurate information
                      about smoking risks.
       The graphic warnings convey a host of factually inaccurate and misleading

messages about smoking health risks. Public comments demonstrated that all of the

Rule’s warnings misleadingly exaggerate smoking risks. See infra 22-25. And the results

of FDA’s own qualitative studies further demonstrated that the graphic warnings

convey misleading, confusing, and inaccurate messages. ROA.1378, 1380, 1386-88,

1429, 1443, 1445. For instance, some study participants thought that the erectile-

dysfunction        image     depicted       a        “strained     relationship,”    infertility,

“[i]nsomnia/sleeplessness,” or “stress/depression.” ROA.1643, 1645.

       At a minimum, participants’ reactions to FDA’s draft graphic warnings raised

serious questions about the clarity and accuracy of the messages conveyed. See infra

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23-24. But instead of probing these issues, FDA withheld the qualitative study reports

on the draft graphic warnings for months, see infra 48-49, and declined to undertake

similar studies of the final graphic warnings.

             3.     FDA’s analysis fails to show that the Rule will meaningfully
                    affect the public’s knowledge of smoking risks.
      Before issuing the Proposed Rule, FDA commissioned two quantitative studies.

The first was designed to determine whether the FDA-created textual warnings would

promote greater public understanding of smoking risks. 84 Fed. Reg. at 42,767. The

second was designed to determine whether the graphic warnings (including text and

images) would increase understanding of smoking risks. 84 Fed. Reg. at 42,771. Both

studies had “significant short comings” that make them “unreliable.” ROA.1614-15.

In particular, neither study had a nationally representative sample. See ROA.1473, 1494.

Nor were they peer-reviewed before FDA issued the Proposed Rule, which led to

criticism that they “were not credible.” 85 Fed. Reg. at 15,661. FDA responded that

its studies had been peer-reviewed subsequent to the Proposed Rule, claiming that the

reviewers were largely positive. Id. Contrary to FDA’s characterization, the peer

reviewers raised serious, substantive concerns about FDA’s studies, including (among

many others) the lack of an adequate theoretical framework and failure to use

representative samples. ROA.1498, 1500-01, 1503-04, 1507-09, 1512-13, 1515-16,

1519-21, 1524, 1526-32.




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      In any event, as discussed below, the studies actually showed that the Rule will

not materially impact the public’s understanding of smoking risks. See infra 34-37.

      D.     Plaintiffs Successfully Challenge the Rule.

      In April 2020, Plaintiffs challenged the Rule in the Eastern District of Texas. See

ROA.71. They sought summary judgment, arguing that the Rule violated the First

Amendment, the APA, and the TCA, and should be set aside in its entirety.

ROA.1213-88. FDA defended the Rule, but conceded that it is unprecedented in U.S.

history. ROA.10450-52.

      The district court granted summary judgment to Plaintiffs on their First

Amendment challenge. ROA.10220.

      Like the D.C. Circuit with the 2011 Rule, the district court held that Zauderer

review is inapplicable and invalidated the warnings under Central Hudson.

ROA.10202-03, 10208-11. The court concluded that “all of the warnings here” are not

“purely factual” and “uncontroversial” because “each warning” is subject to multiple

reasonable interpretations, the warnings’ imagery “is provocative,” and “[a]s to each

warning, it is not beyond reasonable probability that consumers would take from it a

value-laden message that smoking is a mistake.” ROA.10205-06.

      The court also identified “a broader problem”:          “FDA has not made a

record-based showing” “that each image-and-text pairing conveys only one,

unambiguous meaning that is factually correct.” ROA.10206. This problem, too,

affected “each image-and-text pairing.” ROA.10206. For all of these reasons, the court

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concluded that the warnings are not “purely factual and uncontroversial and objectively

accurate as required” for Zauderer to apply. ROA.10208.

      The district court went on to hold that the Rule “does not meet Central Hudson’s

narrow tailoring requirement.” ROA.10208. Citing the Supreme Court’s decision in

Nat’l Inst. of Family & Life Advocates v. Becerra, 138 S. Ct. 2361, 2376 (2018) (“NIFLA”),

the court found that “[t]he government has not shown that compelling these large,

graphic warnings is necessary in light of other options,” including public-information

campaigns and “smaller or differently placed warnings.” ROA.10210-11. Having held

that the Rule violates the First Amendment, the district court did not reach Plaintiffs’

statutory arguments. ROA.10212.

      The district court then rejected FDA’s request that the court “sever and declare

invalid only certain aspects of the warnings.” ROA.10212. The court held that the

TCA “does not allow the court to ‘sever’ the FDA’s warnings by simply deleting their

graphical component.” ROA.10213. Rather, “the Act directs that graphics and text

must accompany each other in the new warnings.” ROA.10213 (citing 15 U.S.C.

§ 1333(d)[1]).

      The district court issued a declaratory judgment and vacated the Rule.

ROA.10213. The court concluded that the question whether vacatur is appropriate was

“resolved at this stage by Fifth Circuit precedent.” ROA.10219-20.

                        SUMMARY OF THE ARGUMENT

      I.     The Rule violates the First Amendment, as the district court correctly held.

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First, as the district court explained, the Zauderer test does not apply because the

warnings are not “purely factual,” “accurate,” or “uncontroversial.” To the contrary,

they convey the government’s ideological anti-smoking message and are susceptible to

multiple interpretations, many of which are false or misleading. Zauderer also does not

apply because the warnings are not related to preventing consumer deception.

      As the district court also correctly held, the Rule fails the Central Hudson test.

First, there is no substantial government interest. FDA lacks any interest in compelling

misleading disclosures.    FDA also cannot sustain the Rule based on a purely

informational interest, divorced from any real-world benefit. And in any event, the

informational interest fails here because the public is nearly universally aware of the

harms of smoking. Second, FDA cannot show that the Rule will meaningfully advance

even its purely academic interest.

      Third, the Rule is more extensive than necessary because it commandeers the

top 50% of the front and back of cigarette packages and the top 20% of cigarette

advertising for gruesome warnings. FDA needed, at a minimum, to consider less-

burdensome alternatives, which it entirely failed to do.

      For the same reasons, even if the Zauderer test applied, the Rule would fail it.

      II.    FDA violated the APA, 5 U.S.C. § 500 et seq., in several respects. First,

the Rule is arbitrary and capricious, including because the record evidence shows that

the Rule would not advance FDA’s goal of educating the public about smoking risks.

FDA also failed to provide meaningful notice and an opportunity to comment by

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withholding certain information during the rulemaking process, and by giving the public

only fifteen days to comment on FDA’s qualitative studies (which further revealed the

Rule’s defects).

       III.   FDA violated the TCA by increasing the total number of warnings and by

revising the statutory textual warnings.

       IV.    The district court appropriately invalidated the Rule in its entirety. The

government’s severability arguments fail because the entire rule is invalid, because the

TCA expressly prohibits separating the images from the textual warnings, and because

FDA did not consider whether, and there is no basis for thinking that, whatever portion

of the Rule remained would function sensibly absent the rest of the Rule. The court

also correctly vacated the Rule, per the APA and this Court’s precedents.

                              STANDARD OF REVIEW

       The court “review[s] the grant of summary judgment de novo.” Bradley v. Viking

Ins. Co. of Wis., 56 F.4th 1011, 1014 (5th Cir. 2023).

                                      ARGUMENT

I.     THE RULE VIOLATES THE FIRST AMENDMENT, AS THE DISTRICT COURT
       CORRECTLY HELD.

       The First Amendment protects “both the right to speak freely and the right to

refrain from speaking at all.” Janus v. Am. Fed’n of State, Cnty., & Mun. Employees, Council

31, 138 S. Ct. 2448, 2463 (2018) (quotation marks omitted). “If there is any fixed star

in our constitutional constellation, it is that no official, high or petty, can prescribe what



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shall be orthodox in politics, nationalism, religion, or other matters of opinion or force

citizens to confess by word or act their faith therein.” W. Va. Bd. of Educ. v. Barnette, 319 U.S.

624, 642 (1943) (emphasis added).              Compelled speech “violates that cardinal

constitutional command.” Janus, 138 S. Ct. at 2463. These principles apply not just to

opinions, “but equally to statements of fact the speaker would rather avoid,” and apply

to “business corporations.” Hurley v. Irish-Am. Gay, Lesbian & Bisexual Grp. of Boston,

515 U.S. 557, 573-74 (1995); see United States v. United Foods, 533 U.S. 405, 409-11 (2001);

Pac. Gas & Elec. Co. v. Pub. Utils. Comm’n, 475 U.S. 1, 16 (1986) (plurality op.). The

government therefore may not compel individuals or businesses to “use their private

property as a ‘mobile billboard’ for the State’s ideological message.” Wooley v. Maynard,

430 U.S. 705, 715 (1977); see 303 Creative LLC v. Elenis, No. 21-476, 2023 WL 4277208,

at *8 (U.S. June 30, 2023).

       FDA argues that the Rule is lawful under the test set out in Zauderer, which is a

narrow exception that allows the government to compel commercial speakers to

disclose “purely factual and uncontroversial information about the terms under which

[their] services will be available” if it is “reasonably related to the State’s interest in

preventing deception of consumers” and is not “unjustified or unduly burdensome.”

Zauderer, 471 U.S. at 651. But the district court correctly held that Zauderer does not

apply and that the Rule cannot satisfy the Central Hudson standard. In any event, the

Rule flunks any standard of First Amendment scrutiny—because, at bottom, the

government has failed to identify a legitimate interest, it has not demonstrated that the

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Rule would advance even its stated interest, and it has not shown that the Rule is

appropriately tailored to that interest.

       A.     The District Court Correctly Held that Zauderer Does Not Apply.

       No court has applied Zauderer to a compelled-speech requirement that includes

a government-selected image. This Court should not be the first.

              1.     The district court correctly concluded that the warnings are
                     not accurate, purely factual, and uncontroversial.
       The narrow Zauderer exception applies only to compelled disclosures of

“accurate,” “purely factual,” and “uncontroversial” information. Zauderer, 471 U.S. at

651. The Rule’s warnings, however, are none of these, because they are value-laden and

misleading.

                     a.     The warnings convey an ideological message.
       As the district court correctly held, due to the warnings’ provocative imagery, it

is probable that “consumers would take from [each warning] a value-laden message that

smoking is a mistake.” ROA.10204-05. Using the neck-tumor image as an example,

the court noted that it is subject to different reasonable interpretations, including that

the warning is “an effort to provoke repulsion” by portraying “a stylized, exaggerated

representation of neck cancer,” and that the warning is a “message that smoking is a

mistake” based on “the depicted person’s gaze,” which “arguably express[es] regret at

her choice to smoke.” ROA.10205.




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      The district court could have gone further. The record demonstrates that it is

certain that consumers would take a value-laden message from the warnings.

      First, it is apparent from the warnings themselves that they each convey an

ideological message. For example, the warnings include images of a sick child wearing

a breathing mask; bloody, diseased lungs from a dead person; diseased feet with several

toes missing; bloody urine; and a crying, underweight baby.




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      Indeed, a number of the images are quite similar to the “inflammatory images”

from the first graphic-warnings rule—which the D.C. Circuit declared “cannot

rationally be viewed as pure attempts to convey information to consumers,” R.J.

Reynolds, 696 F.3d at 1216-17.




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                2011 Warnings                     Current Warnings




      Moreover, the images’ shocking nature is only reinforced by the warnings’ large

size and prominent placement. 85 Fed. Reg. at 15,709. And inclusion of the images in

addition to the (purportedly factual) textual warning statements demonstrates that the

images are necessarily serving a purpose other than communicating purely factual

information.




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      FDA’s tactics are akin to the “shock-and-awe” advocacy used in numerous

ideological debates, such as when animal-rights activists display photographs of

mutilated animals. No one would contend that such photographs are “purely factual.”

To the contrary, they are designed to “shock” others into agreeing with the non-factual

message that the targeted practice should be stopped. Similarly, no one could contend

that FDA could mandate the following as “purely factual” warnings.




      Second, record evidence demonstrates that consumers do in fact take value-laden

messages from FDA’s warnings. Although FDA (tellingly) refused to ask the study

participants how the warnings made them feel, those participants repeatedly described

the images as “grotesque,” “gruesome,” “disgusting,” and the like. ROA.1391, 1395,

1401, 1407, 1409, 1411-13; see also ROA.1299-1307. But FDA ignored those responses,

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and instead made the warnings more frightening, shocking, and disgusting. See supra 9-10.

And FDA hid those damning reports. See supra 9.

      In short, the warnings are “hardly…non-ideological” because they “skew public

debate” and “stigmatize” consumers. See Nat’l Ass’n of Mfrs. v. SEC, 800 F.3d 518, 530

(D.C. Cir. 2015) (panel reh’g) (internal quotation marks omitted).

                    b.     The warnings convey false and misleading messages.
      As the district court further recognized, there is “a broader problem” with the

warnings: FDA did absolutely zero testing to ensure that the warnings have only one

meaning (let alone an accurate meaning), and they reasonably can be interpreted in

different ways, at least some of which are not factual or uncontroversial.

ROA.10206-08.

      As the district court held, “FDA has not made a record-based showing…that

each image-and-text pairing conveys only one, unambiguous meaning that is factually

correct.” ROA.10206. To the contrary, “each of the graphic warnings” is easily capable

of multiple interpretations. ROA.10208. Take the open-heart-surgery image, for

example:




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FDA acknowledged that the warnings should depict diseases as they are “typically

experienced.” 84 Fed. Reg. at 42,770. Yet, although consumers could reasonably

interpret the open-heart-surgery image as showing “the most common treatment for

heart disease,” FDA presented “no evidence of that assertion’s truth”; rather, a different

intervention is “2.5 times more common than open-heart surgery” as a treatment for

heart disease—record evidence FDA does not dispute. ROA.10206-07 (citing 85 Fed.

Reg. at 15,677-78). Consumers could also interpret the image to mean that “open-heart

surgery is the best treatment for heart disease, even if not the most common.”

ROA.10207; see also ROA.1577. But “that message would seem opinion-based” and is

unsupported by the record. ROA.10207.

      The same goes for the cataracts image:




This warning mentions both cataracts and blindness, so a consumer could reasonably

interpret it as depicting blindness. ROA.10207. And even if the “text were limited to

cataracts,” “some consumers may reasonably interpret the image as depicting the most

common result of cataracts,” but FDA presented “no evidence of that depiction being


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accurate.” ROA.10207. Rather, as “commenters told the FDA” and FDA again

conceded, “cataracts in the United States are typically treated long before they progress

to the stage shown.” ROA.10207; see also ROA.1648-50, 1691-99.

      Again, the district court is correct, but it could have gone further. FDA’s

so-called “photorealistic” images are inherently susceptible to multiple subjective

interpretations. See R.J. Reynolds, 696 F.3d at 1216 (recognizing images will give rise to

subjective interpretations and misinterpretations); Andy Warhol Found. for the Visual Arts,

Inc. v. Goldsmith, 143 S. Ct. 1258, 1285 (2023) (“Many photographs will be open to

various interpretations.”). And—although not designed to target this issue—FDA’s

own studies demonstrated that consumers will take away misleading and inaccurate

messages from the Rule’s images and text. For example:

      • Some study participants interpreted the erectile-dysfunction image as
        referring to stress, insomnia, or infertility. ROA.1443, 1645.

      • Some participants stated “that it was unclear what was wrong with the child”
        in the near-final “Sick Child” image. ROA.1429.

       • The draft statement that “Smoking Causes Diabetes” inaccurately conveyed
         to consumers that smoking is the sole or primary cause of diabetes, or
         invariably causes diabetes. ROA.1378.
See also ROA.1251. Indeed, the reactions of study participants confirm that every graphic

warning will mislead, confuse, or shock consumers. See ROA.1300-07 (collecting

illustrative responses from study participants); ROA.2230-55 (same); see also ROA.1352,

1354, 1356, 1359, 1363-66, 1376-80, 1386-88, 1390-1411, 1414-18, 1420-22, 1429,

1431-32, 1434-41, 1443-45.


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      In short, it is no surprise that, as the district court held, “each of the graphic

warnings” can be reasonably interpreted to convey inaccurate meanings. ROA.10208.

Beyond the heart-disease and cataracts images discussed above, each of the remaining

images is misleading and confusing:

      • The “Diseased Non-Smoker’s Lungs” image depicts lungs that “do not look
        like a non-smoker’s lungs” and have unusually large and numerous cancerous
        lesions. ROA.1653.

      • The “Diseased Feet” image depicts a condition that could affect, at most, one
        in 1,000 smokers. ROA.1660-61.

      • The “Neck Tumor” image misleadingly suggests that “a cancerous mass of
        that size could arise” before a reasonable person would seek treatment.
        ROA.1657.

      • The “Sick Child” image depicts a rare “worst case scenario” of a child being
        hospitalized, and requiring oxygen, due to a tobacco-smoke-induced asthma
        attack. ROA.1645-46.

      • The “Crying Baby” image depicts a newborn weighing four pounds, when
        even the low end of normal birth weight for babies born to smoking women
        is more than five pounds. ROA.1577.

      • The “Bloody Urine” image is misleading because “the association between
        bladder cancer and consistent smoking of up to ten cigarettes per day was not
        statistically significant.” ROA.1685.

      • The “Erectile Dysfunction” image misleadingly suggests that erectile
        dysfunction is commonplace for smokers. ROA.1688.

      • The “COPD Nasal Cannula” image misleadingly “depicts a ‘worst case
        scenario,’” in which a smoker not only develops COPD, but requires home
        oxygen. ROA.1687.

      • The “Finger Prick” image is “misleading in that it does not convey either the
        absolute or relative risk of” smoking-related diabetes, and instead suggests
        that smoking results in diabetes, requiring painful blood-glucose monitoring.


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          ROA.1689.
       This problem is not limited to the graphic element of the warnings. The textual

warnings are likewise misleading. Most of them misleadingly focus on conditions that

less frequently arise from smoking. Indeed, FDA conceded that the warnings are

focused on conditions that are “less known to the public” (rather than focusing on

conditions most frequently caused by smoking). 84 Fed. Reg. at 42,758. The statements

also conveyed misleading, confusing, or inaccurate messages to study participants,

including by their use of the word “cause” (as opposed to more accurate phrases such

as “increases the risk of,” “may cause,” or “can cause”). ROA.4083, 4128; see also

ROA.1300-07 (participants thought textual warnings were confusing or misleading);

ROA.2238, 2250, 2253.

       In short, the warnings are anything but “factual.” And for the same reasons, they

are also not “uncontroversial.” See Ent. Software Ass’n v. Blagojevich, 469 F.3d 641, 652

(7th Cir. 2006).; Nat’l Ass’n of Mfrs., 800 F.3d at 530.

                     c.     FDA’s arguments are unavailing.
       FDA oddly accuses the district court of “not identify[ing] any way in which these

images or the text-and-image pairings are inaccurate or uncontroversial.” Br. 46. As

shown above, the district court did so persuasively and in detail. ROA.10204-08. See

supra 12-13, 17-22. Moreover, the burden is on the government to show that each image

conveys solely an unambiguous, factually correct meaning, which it has not even

attempted to do through its studies here (which demonstrate the opposite, supra at 23-25).


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See, e.g., Zauderer, 471 U.S. at 641; Am. Beverage Ass’n v. City & Cnty. of San Francisco, 916

F.3d 749, 756 (9th Cir. 2019) (en banc). And FDA’s criticisms of the court’s reasoning

fall flat.

        First, as to the district court’s holding that each image is value-laden, FDA

defends the neck-tumor image solely by claiming that “the person depicted is not crying,

grimacing, or making any other expression indicative of a strong emotion.” Br. 52. But

the court correctly concluded that a reasonable consumer could interpret the depicted

person’s gaze as “expressing regret at her choice to smoke.” ROA.10205. That

comports with the Supreme Court’s observation that “[a] subject as open to

interpretation as the human face…reasonably can be perceived as conveying several

possible meanings.” Andy Warhol, 143 S. Ct. at 1285. Indeed, FDA’s own report shows

that it accepted recommendations to “[m]aintain the look of sadness/despair” for the

neck-tumor image. ROA.1417-18, 1420, 1422-23. And notably, other images do

indisputably depict “crying” (the baby), “grimacing” (the man in the erectile-

dysfunction warning), and “other expression[s] indicative of a strong emotion” (the

woman in the erectile-dysfunction warning).




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      Furthermore, FDA completely ignores two other possible interpretations of the

neck-tumor image identified by the district court, the first of which is inaccurate and

the second of which is value-laden: “One person might view the image as showing a

typical representation of the sort of neck cancer caused by smoking before a person

could seek medical treatment. Another person might view the image as showing a

stylized, exaggerated representation of neck cancer, perhaps in an effort to provoke

repulsion.” ROA.10205.

      More broadly, FDA argues that the warnings evoke emotional responses simply

because they accurately reflect serious outcomes of cigarette smoking. E.g., Br. 52. But,

as shown above, the warnings are deliberately inflammatory and carry FDA’s anti-

smoking message.

      Second, as to the district court’s holding that the images are subject to multiple

interpretations and therefore are not accurate and purely factual, FDA defends a few of

the images, but its arguments miss the mark. See Br. 47-50. For each, FDA responds

that the image reflects an outcome that sometimes occurs, but does not dispute that this

is not the most-common outcome (and that, for instance with head-and-neck cancer,

this outcome extremely rarely presents in this manner). Nor does FDA address the court’s

point (at ROA.10206) that the images could reasonably be misunderstood as depicting

the most-common outcome (or in other ways—for example, as showing optimal

treatment).



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      Take the head-and-neck cancer image. As FDA acknowledges, it defended that

warning in the Rule by asserting that neck tumors of this size are “not unusual” for

patients in underserved communities. Br. 49-50. But, as the district court observed

with respect to the cataracts image, ROA.10207-08, nothing about the head-and-neck

cancer image indicates that it applies only to underserved communities. This is a prime

example of why the images are ambiguous and misleading. See R.J. Reynolds, 696 F.3d

at 1216 (an image is subject to misinterpretation if it could cause consumers to believe

that a rare consequence of smoking is common).

              2.    The warnings are not reasonably related to “consumer
                    deception.”
      Zauderer also is inapplicable here because the warnings are not “reasonably related

to…preventing deception of consumers.” Zauderer, 471 U.S. at 651; see also ROA.1243-

45; ROA.2192-94.2 Zauderer is suited to that unique context—where the underlying

commercial speech has little or no constitutional worth and compelled corrective

speech will help prevent consumer deception. See Zauderer, 471 U.S. at 651. But when

the government seeks to regulate lawful, non-misleading speech, there is no reason to

apply a standard less strict than Central Hudson, regardless of whether the regulation

restricts speech or compels a disclosure. See Cent. Hudson, 447 U.S. at 564-66. Thus,

the Supreme Court has specified that an “essential feature[]” of the disclosures in


      2
        Although the district court did not reach this issue, ROA.10203, this Court may
affirm on any basis supported by the record. See Wantou v. Wal-Mart Stores Tex., L.L.C.,
23 F.4th 422, 434-35 (5th Cir. 2022).

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Zauderer was that they were aimed at “inherently misleading commercial advertisements,”

see Milavetz, Gallop & Milavetz, P.A. v. United States, 559 U.S. 229, 250 (2010), and

repeatedly explained that, to qualify for Zauderer review, a required disclosure must be

“an appropriately tailored check against deception or confusion,” Ibanez v. Florida Dep’t

of Bus. & Prof’l Reg., 512 U.S. 136, 146 (1994); see also Glickman v. Wileman Bros. & Elliott,

Inc., 521 U.S. 457, 491 (1997) (Souter, J., joined by Rehnquist, C.J., and Scalia and

Thomas, JJ., dissenting); Milavetz, 559 U.S. at 257 (Thomas, J., concurring). Indeed, it

is undisputed that the Supreme Court has never held that Zauderer applies outside the

consumer-deception context.

       This Court’s precedent likewise recognizes that Zauderer is intended to evaluate

regulations that “are directed at deceptive or misleading commercial speech and require

a disclosure.” Test Masters Educ. Servs., Inc. v. Robin Singh Educ. Servs., Inc., 799 F.3d 437,

453 (5th Cir. 2015); see also Cent. Ill. Light Co. v. Citizens Util. Bd., 827 F.2d 1169, 1173

(7th Cir. 1987) (similar); Dwyer v. Cappell, 762 F.3d 275, 282 (3d Cir. 2014) (similar). And

this Court has acted on this view, repeatedly applying heightened scrutiny rather than

Zauderer in analyzing compelled disclosures that were unrelated to preventing consumer

deception. See Allstate Ins. Co. v. Abbott, 495 F.3d 151, 164-65 (5th Cir. 2007); Hersh v.

U.S. ex rel. Mukasey, 553 F.3d 743, 764-68 (5th Cir. 2008). 3




       3
        An amicus argues that, under Netchoice, LLC v. Paxton, 49 F.4th 439, 485 (5th
Cir. 2022), Zauderer is not limited to disclosures designed to prevent consumer deception.

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       Here, the graphic warnings are not necessary to prevent consumer deception.

Federal law already prohibits false or misleading claims on cigarette packages and

advertising. See 21 U.S.C. §§ 331(a), 387c(a)(1), (7), 387k; see also R.J. Reynolds, 696 F.3d

at 1214-15. Additionally, FDA acknowledges that the Rule’s goal is to “promote greater

public understanding,” not prevent consumer deception. See 85 Fed. Reg. at 15,668.

       FDA briefly argues that these warnings are related to consumer deception. Br.

28-29. Not so. First, the operative question, as this Court explained in Test Masters, is

whether the commercial speech at issue is deceptive or misleading, not whether consumers

are imperfectly informed more generally. 799 F.3d at 453. Here, the commercial speech

at issue is undisputedly non-deceptive and non-misleading.            Second, even if past

consumer deception were relevant, FDA makes no attempt to show that any previous

misrepresentations by tobacco companies continue to mislead consumers today despite

more than five decades of federal warnings (let alone that those misrepresentations

pertained to the subject matter of these warnings). Third, the Rule governs not just

manufacturers but also retailers (including several Plaintiffs). See, e.g., 85 Fed. Reg. at

15,690; 15 U.S.C. § 1333(b)(1). And there is no suggestion that those Plaintiffs ever

engaged in any deceptive speech relating to tobacco.




Doc. 55 at 12-13 n.3. But that question was not presented in Netchoice because the
parties did not raise it.

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       B.      The District Court Correctly Held that the Rule Fails Central
               Hudson .

       FDA has suggested that, if Zauderer does not apply, the Rule should be subject

to Central Hudson. 85 Fed. Reg. at 15,648; see Br. 34. Under Central Hudson, courts must

analyze three prongs: (1) “whether the asserted governmental interest is substantial”;

(2) “whether the regulation directly advances the governmental interest asserted”; and

(3) “whether it is not more extensive than is necessary to serve that interest.” 447 U.S.

at 564, 566. As the district court held, the Rule fails this test.4

               1.    There is no substantial government interest.
       FDA does not argue that the Rule is justified by an interest in reducing

smoking—presumably because it already tried and failed to justify graphic warnings on

this basis. 5 See supra 5-6. Instead, FDA argues that the Rule will “promote greater



       4
        By its terms, Central Hudson applies to speech “restrictions,” not compelled
disclosures. 447 U.S. at 564; see also Hersh, 553 F.3d at 764-68 (applying strict scrutiny,
not Central Hudson, to a compelled commercial disclosure to which Zauderer was
inapplicable). Thus, if the government compels a commercial actor to express a
message that is not subject to Zauderer, strict scrutiny applies. See, e.g., 303 Creative, 2023
WL 4277208, at *19; Brown v. Ent. Merchants Ass’n, 564 U.S. 786, 799 (2011); Pac. Gas,
475 U.S. at 17-18 (plurality op.); Hersh, 553 F.3d at 764-68; Ent. Software, 469 F.3d at
652. Plaintiffs also preserve the argument that all commercial speech regulations should
be reviewed under strict scrutiny. See Milavetz, 559 U.S. at 255-56 (Thomas, J.,
concurring in part and concurring in the judgment). Because the Rule fails Central
Hudson, it a fortiori fails strict scrutiny.
       5
        FDA’s brief emphasizes smoking risks, particularly among adolescents. E.g.,
Br. 1. Such concerns do not support the Rule, because FDA does not contend that the
Rule would reduce smoking among any group, including adolescents. Moreover, youth
smoking “has been steadily declining during the past 2 decades” absent these warnings,

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public understanding of the negative health consequences of cigarette smoking.” 85

Fed. Reg. at 15,638; see Br. 35. There are numerous problems with FDA’s reliance on

that alleged interest.

                     a.     FDA has no substantial interest in mandating
                            misleading disclosures.
       There can never be a substantial governmental interest in mandating misleading

disclosures. See Video Software Dealers Ass’n v. Schwarzenegger, 556 F.3d 950, 967 (9th Cir.

2009), aff’d, 564 U.S. 786 (2011); Nat’l Ass’n of Mfrs., 800 F.3d at 539 (Srinivasan, J.,

dissenting). Because the graphic warnings are misleading, see supra 21-25, they cannot

be upheld under any level of First Amendment scrutiny.

                     b.     FDA has no substantial interest in simply providing
                            information.
       As the D.C. Circuit explained in R.J. Reynolds, a “purely informational” interest

such as FDA’s asserted interest here cannot “stand on its own,” and should be viewed

solely as “a description of the means by which [FDA] plans to accomplish [the] goal of

reducing smoking rates, and not an independent interest capable of sustaining the Rule.”

696 F.3d at 1221. “[I]t is plainly not enough for the Government to say simply that it

has a substantial interest in giving consumers information,” because such a “circular

formulation” would apply to “any and all disclosure requirements.” Am. Meat, 760 F.3d

at 31 (Kavanaugh, J., concurring in the judgment). FDA’s informational rationale can


and now stands at 1.6%. Eunice Park-Lee, et al., Tobacco Product Use Among Middle and
High School Students—United States, 2022, CDC (2022), https://tinyurl.com/3hmhfpsu.

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only be understood as a means of achieving an appropriate real-world effect. R.J.

Reynolds, 696 F.3d at 1221; see Int’l Dairy Foods Ass’n v. Amestoy, 92 F.3d 67, 73-74 (2d Cir.

1996); Edenfield v. Fane, 507 U.S. 761, 770-71 (1993). But here, FDA identifies no such

effect, because there is none. Thus, FDA has not met its burden.

       FDA cites Hersh, 553 F.3d at 766, and Citizens United v. FCC, 558 U.S. 310 (2010),

as purported examples of adequate informational interests. Br. 35. But Citizens United

discussed an interest in affecting real-world behavior, not a purely informational interest.

558 U.S. at 368-69 (the disclaimer “avoid[s] confusion by making clear that the ads are

not funded by a candidate or political party”); id. at 371 (“[the] disclosure permits

citizens and shareholders to react to the speech of corporate entities in a proper way”

(emphasis added)). Similarly, Hersh involved an interest in “ensuring that those who

enter bankruptcy know what it entails,” given that “[t]he amount of debt discharged in

bankruptcy is immense,” and debtors are “at a disadvantage” “in comparison both to

creditors and to their advisors” due to “lack of basic knowledge.” 553 F.3d at 766-67.

Much like Citizens United, the government had an interest in permitting consumers to

appropriately react to their creditors’ speech as they contemplated entering bankruptcy.

Id. And, as noted above, Hersh cuts strongly against FDA because it applied strict

scrutiny to a disclosure requirement similar to the warnings here. See id. at 764-68.

       FDA’s reliance on the current Surgeon General’s warnings (at 35) misses the

mark. Plaintiffs are not challenging the Surgeon General’s warnings, but it would be

up to the government to articulate a defense for them in the first instance. NIFLA,

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138 S. Ct. at 2377. Because the Surgeon General’s warnings are purely factual,

uncontroversial, and focused on primary effects of smoking, it is possible that they are

reducing smoking or furthering other real-world objectives, such as combatting the

effects of alleged past consumer deception. In any event, at a minimum, the Surgeon

General’s warnings pertain to serious and common effects of smoking (and thus would

be upheld under a test that permitted informational interests but required the

information to be material).

                    c.     FDA’s informational interest is inadequate because
                           the public already knows about the risks of smoking.
      The public “already know[s]” about the risks of smoking, so FDA’s asserted

interest in informing the public of those risks cannot be substantial. See NIFLA, 138

S. Ct. at 2377. For decades, cigarette packages and advertising have displayed warnings

that inform the public about smoking risks. See Pub. L. No. 89-92, 79 Stat. 282 (1965);

Pub. L. No. 98-474, 98 Stat. 2200-02 (1984). The public has also received such

information from other sources, including the government, public-health entities,

doctors, insurers, and schools. See ROA.1580, 1594-96, 1619-25; see also United States v.

Philip Morris USA Inc., No. 99-CV-2496, 2016 WL 3951273, at *1 (D.D.C. Apr. 19, 2016)

(requiring tobacco companies to make corrective statements). As a result, the public

already knows that smoking is harmful. Indeed, FDA’s own survey shows that 99.5%

of individuals believe that cigarette smoking is harmful to health. ROA.1581, 1597-98;

see also ROA.1253-54.



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       The public also knows about the major risks of smoking. For example, FDA’s

own data show that 94% of people believe that smoking cigarettes causes lung cancer,

94% believe that smoking causes lung disease, and 88% believe that smoking causes

heart disease. ROA.1603-06; see ROA.1610; see also ROA.1254. It would be difficult, if

not impossible, to improve these numbers. ROA.1597, 1581.

       FDA tries to sidestep this problem by claiming that the warnings address “less-

known health consequences of smoking.” 85 Fed. Reg. at 15,640; see Br. 36-37. This

is fundamentally flawed for two reasons. First, FDA’s own evidence shows that seven

of the Rule’s warnings describe well-known risks.

            • “Tobacco smoke can harm your children.” FDA concedes 6 this risk
              is well-known, and its study shows this warning was new information to
              only 2.6% of adults. See also ROA.1370, 1608-09; ROA.1255.

            • “Tobacco smoke causes fatal lung disease in nonsmokers.” This is
              concededly well-known, and FDA’s data confirm that 83% of people
              believe second-hand smoke causes lung disease in non-smokers.
              ROA.1609; see also ROA.1255.

            • “Smoking causes head and neck cancer.” FDA has acknowledged
              evidence that more than 90% of people know smoking causes various
              head and neck cancers. 84 Fed. Reg. at 42,761 (citing Dannielle E. Kelley
              et al., Effective Message Elements for Disclosures About Chemicals in Cigarette
              Smoke, 20 Nicotine & Tobacco Research 1047, 1051 (2018));
              ROA.1606-07; see also ROA.1255.

            • “Smoking can cause heart disease and strokes by clogging arteries.”

       6
          FDA has acknowledged “the public already has a high pre-existing level of
knowledge of the specific health consequences described in the warnings” that were
tested in certain studies. Id. at 42,764. Because those four studies tested all of the Act’s
warnings, FDA has effectively conceded that each of those risks is well-known. See also
id. at 42,767 n.5.

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              FDA has conceded this is well-known, see supra n.6, and FDA’s data show
              that 88% of people understand the heart-disease risk and 80% understand
              the stroke risk. See 84 Fed. Reg. at 42,758; ROA.1604; see also ROA.1255.

          • “Smoking during pregnancy stunts fetal growth.” 86% of people
            believe smoking causes harm to fetuses (per FDA’s data), ROA.1606-08,
            and FDA has relied on other evidence that people know about the
            smoking-related risks of low birth weight and premature birth. 84 Fed.
            Reg. at 42,761 (citing Denise M. Levis et al., Women’s Perspectives on Smoking
            and Pregnancy and Graphic Warning Labels, 38(5) Am. J. of Health Behavior
            755 (2014)); see also ROA.1370; ROA.1255.

          • “Smoking causes COPD, a lung disease that can be fatal.” FDA
            concedes this is well-known, and FDA’s data show that 94% of people
            believe smoking causes lung disease. 84 Fed. Reg. at 42,756;
            ROA.1605-06; see also ROA.1357; ROA.1255.
       Second, even if the public is less aware of minor or unlikely health consequences

covered by the other warnings (like cataracts), FDA lacks a substantial interest in

compelling Plaintiffs to speak about these less-known risks. Those warnings serve no

purpose because they will not affect smoking consumption (and FDA has not

attempted to prove to the contrary), and generally will not even affect people’s overall

assessment of the risks of smoking. ROA.1600-01. If consumers choose to smoke

knowing about its major risks (e.g., lung cancer), it is implausible that they would be

deterred by learning it had some minor contributing effect on lesser risks (e.g., cataracts).

ROA.1613; see also ROA.1256. FDA’s effective concession that its warnings will not

affect smoking levels empirically confirms this intuitively obvious point. It is also telling

that FDA (1) has never addressed any of these risks in any of its prolific




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public-education campaigns, see ROA.1621-25, and (2) did not even attempt to quantify

the benefits of giving consumers this information, see ROA.1542; see also ROA.1566.

       FDA’s position has no logical endpoint. After all, it is always possible to find

some granular fact that the public does not know. Thus, FDA’s reasoning could justify

a warning on any subject and on any product. That cannot be right.

              2.     The Rule does not directly advance FDA’s asserted interest.
       The Rule also flunks Central Hudson because it does not “directly advance[] the

governmental interest asserted,” and at most “provides only ineffective or remote

support for the government’s purpose.” Cent. Hudson, 447 U.S. at 564, 566; see Ibanez,

512 U.S. at 142-43; Nat’l Ass’n of Mfrs., 800 F.3d at 525. FDA defines the Rule’s goal

remarkably narrowly: to promote “public understanding of the negative health

consequences of smoking” only with respect to the “specific health consequences”

depicted in the warnings. 85 Fed. Reg. at 15,655. As explained above, that purported

interest is insufficient because it does not address any real-world problems (such as

smoking rates). See supra 32-34. Indeed, FDA does not even contend that the

information is material to any real-world decision (and it is not, ROA.1600-03). But

even assuming this purely academic goal were valid, the Rule would not advance it.

       FDA’s own analyses showed that the warnings performed dismally in changing

beliefs about smoking. The first of its two quantitative studies showed that, when

compared to the TCA’s textual warnings, seven of the nine FDA-created warnings did

not lead to a statistically significant increase in the participants’ beliefs that smoking has

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the negative health consequences corresponding to that warning. ROA.1471-72. It

also showed that many of the FDA-created textual warnings were not believable—

feedback that FDA consistently ignored. Indeed, FDA even dropped the “believability”

question from the second quantitative study. See ROA.1521.

      FDA then moved the goalposts in its second study by switching focus to two

different questions: (1) whether the warning was “new information” to participants, and

(2) whether participants reported that they “learned something” from the warning. See

84 Fed. Reg. at 42,768, 42,771. But these questions are wholly unreliable, and instead

reflect what a peer reviewer called “post hoc rationalization.” ROA.1498.

      First, the “new information” and “learned something” questions say little—if

anything—about whether warnings will improve the public’s understanding of smoking

risks. In particular, they do not speak to whether respondents actually learned the

information in the warnings. See 85 Fed. Reg. at 15,665-66 (explaining that, for learning

to occur, it is necessary both to attend to the message and to process the information

in the message). Unsurprisingly, FDA’s chosen measures were criticized by reviewers

as non-standard measures of questionable validity. See ROA.1503, 1507, 1516. And

even with these significant flaws, the second study showed that five of the Rule’s eleven

graphic warnings had no significant effect on the participants’ beliefs about smoking

risks, and five more had only a small effect that quickly started wearing off. See

ROA.1489-92, 1485-87; see also ROA.1239-40. Second, FDA’s studies suffered from

methodological problems that rendered them unreliable. ROA.1447 (neither study is

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nationally representative); ROA.1496-1532; see also ROA.1261-62. FDA ignores its

studies’ flaws and instead offers general reasons to prefer graphic images. Br. 54. Those

generic observations fail to engage with the evidence, which shows that these warnings

will not have the effect FDA seeks.

       Notably, if the textual warnings are considered in isolation—as FDA suggests

throughout the brief—its failure of proof becomes even more acute. After all, the

second quantitative study—on which the government heavily relies—did not test the

textual warnings separately from the images. ROA.9519.

              3.     The Rule is more extensive than is necessary to serve FDA’s
                     asserted interest.
       The Rule also fails Central Hudson’s narrow-tailoring requirement. See 447 U.S. at

565; Ibanez, 512 U.S. at 146; Public Citizen Inc. v. Louisiana Att’y Disciplinary Bd., 632 F.3d

212, 228-29 (5th Cir. 2011). “[I]f the governmental interest could be served as well by

a more limited restriction on commercial speech, the excessive restrictions cannot

survive.” Cent. Hudson, 447 U.S. at 564. Here, the restriction on commercial speech is

extremely burdensome, and numerous less-burdensome alternatives are available.

       a.     The Rule compels Plaintiffs to use the top 50% of the front and back of

cigarette packages and the top 20% of cigarette advertising for gruesome warnings,

which places onerous burdens on the Plaintiffs.

       First, the Rule drastically limits the physical space that manufacturers have to

communicate. ROA.1666. The massive warnings will interfere with manufacturers’



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trademarks and trade dress, including, for example, Reynolds’s use of its longstanding

and iconic Camel logo.




                       Current pack front           Modified pack front

Manufacturers cannot fix this problem by simply shrinking their brand information.

Cigarettes in the United States generally cannot be sold via self-service, and virtually all

cigarettes sold are displayed several feet behind a sales counter. ROA.1668; see 21 C.F.R.

§ 1140.16(c). As a result, substantially reducing the size of the brand message on those

packages would make it very difficult to read, if not illegible. ROA.1668; see NIFLA,

138 S. Ct. at 2378 (invalidating compelled speech that was so large and detailed that it

drowned out other speech); Am. Meat, 760 F.3d at 27.

       Second, the warnings themselves will make it harder for Plaintiffs to effectively

convey information to consumers. FDA has adopted warnings that are designed to

frighten, shock, and disgust consumers, and convey the government’s anti-smoking

message. See supra 17-21, ROA.1666. These highly charged messages will “drown[]out”

Plaintiffs’ speech. See NIFLA, 138 S. Ct. at 2378.

       Third, the warnings exacerbate these problems by occupying the top portion of


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packages and advertising, which is naturally the most prominent. ROA.1666. Worse,

many retail outlets arrange cigarette packages so only the top portion is visible, which

would mean that consumers would see only the graphic warnings. ROA.1668-69.




           Current Retail Display                     Modified Retail Display

       Fourth, the combination of these factors—gruesome images that take up the top

50% of the front and back of cigarette packages—will make all cigarette packages look

substantially the same. That makes it more difficult for manufacturers to “differentiate

their brands from competitors’ brands.” ROA.1665; see also ROA.1664.

       Fifth, these burdens are magnified because Plaintiffs have few remaining avenues

for communicating with adult consumers. Plaintiffs’ ability to promote their products

is severely restricted by federal law, state law, and a settlement between forty-six states

and major cigarette manufacturers. See 15 U.S.C. § 1335; 21 U.S.C. § 387a-1(a)(2); 21

C.F.R. § 1140.16(d); 21 C.F.R. § 1140.34(a)-(c); Master Settlement Agreement § III(d),

https://tinyurl.com/y6te8olv; see also 15 U.S.C. § 1334(c) (federal law does not preempt

various state restrictions); 21 U.S.C. § 387p (same); ROA.1264. Because Plaintiffs have

so “few avenues of communication” left with consumers, the Rule “place[s] a greater,

not lesser, burden on [their] speech.” Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 564-65

(2001); see also Linmark Assocs. v. Twp. of Willingboro, 431 U.S. 85, 93 (1977).

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      The government asserts that “FDA determined ” that cigarette manufacturers

retain “ample room” on the “lower half” of their packages and the “remaining 80

percent” of their advertisements. Br. 32-33. But this constitutional question is for this

Court, not FDA. Agency actions do not receive “the usual deference when reviewing

a potential violation of a constitutional right,” and “courts should make an independent

assessment.” Tex. Office of Pub. Util. Counsel v. FCC, 183 F.3d 393, 410 (5th Cir. 1999);

see also Porter v. Califano, 592 F.2d 770, 780 (5th Cir. 1979) (it “would be error” for a

district court to “rel[y] on agency findings or defer[] to agency rulings” in deciding a

First Amendment claim).

      b.     Particularly given the extremely burdensome nature of the Rule, the

district court was correct in holding that the Rule is not “narrowly drawn” because FDA

failed to consider and test less-burdensome alternatives. ROA.10210-11; see Cent.

Hudson, 447 U.S. at 565; see also United States v. Philip Morris USA Inc., 566 F.3d 1095,

1143 (D.C. Cir. 2009) (per curiam); NIFLA, 138 S. Ct. at 2376 (invalidating California’s

compelled-speech requirement partly because California “identified no evidence” that

a public-advertising campaign would not be sufficiently effective). Here, FDA has

numerous less-restrictive ways to achieve its goals. ROA.10210-11.

      First, the government could find alternative ways of delivering the information—

such as by increasing its own anti-smoking speech (or funding for anti-smoking

programs and advertising by third parties). ROA.10210-11. As an added advantage,

these alternatives would allow the government to tailor messages to particular groups

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(e.g., youth). Indeed, FDA boasts that one of its education campaigns prevented almost

600,000 youths from initiating smoking in under three years. ROA.1588 (quoting

Norman        E.      Sharpless,     Press        Announcement    (Aug.      20,      2019),

https://tinyurl.com/y3kmouoa); FDA, FDA Releases New Ads, Including First Focused on

Mental Health Effects of Cigarette Smoking Among Youth (Jan. 10, 2023) (touting this figure),

https://tinyurl.com/23rx9t75; ROA.1621-25. The availability of this alternative is fatal

to the government’s position here, just as it was in NIFLA, 138 S. Ct. at 2376.

       FDA’s primary retort is that it “already conducts” information campaigns. Br.

40. But neither FDA’s briefing below nor its appellate brief disputes that it has never

run a campaign addressing these risks. Indeed, that the government runs so many

public-education campaigns and boasts of their effectiveness only underscores why it

was necessary to consider a public-education campaign here. This is especially true

because record evidence—which FDA ignores—indicates that a public-information

campaign would be more effective than graphic warnings. ROA.1596-97, 1618, 1627.

       FDA also complains that public-education campaigns “do not reach every

person who looks at a package of cigarettes.” Br. 40. But FDA lacks a sufficient interest

in reaching every person who ever sees a pack of cigarettes. Cf. Brown, 564 U.S. at 803

n.9 (“the government does not have a compelling interest in each marginal percentage

point by which its goals are advanced”); NIFLA, 138 S. Ct. at 2376 (evidence that a

government advertising campaign was relatively ineffective would not justify

commandeering private speech).

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       The district court was also correct that FDA failed to consider the potential

efficacy of less-burdensome warnings. ROA.10211. For instance, FDA could change

the warnings’ text, location, and/or size. But FDA never even considered these options

and instead simply assumed that bigger is better—an approach that would equally justify

warnings that take up 90% of cigarette packaging. See Ent. Software, 469 F.3d at 652 &

n.13 (the government “failed to even explain why a smaller [warning] would not

suffice”). Another alternative that FDA should have considered is textual warnings

without graphic images. See ROA.1630-32.

       The record reflects that several of these readily available less-restrictive

alternatives would likely have been effective. ROA.1586-87, 1593-1615, 1630-38, 1698;

see also ROA.1266-67. For instance, a survey compared FDA’s warnings to several less-

restrictive alternatives and found very few statistically significant differences regarding

the amount of “new information” conveyed and respondents’ beliefs about smoking

risks after viewing the warnings. ROA.1630-31. But FDA failed to try any of these

alternatives.

       FDA admits that it did not test any alternative that was not contemplated by the

TCA. 85 Fed. Reg. at 15,650-51. FDA insists it permissibly relied on Congress’s

purported “judgment” that large new warnings were needed. Br. 39. But Congress

cannot relieve FDA of its constitutional obligations. See supra 15-16. Moreover, as the

D.C. Circuit noted in rejecting FDA’s similar argument in R.J. Reynolds, “deference is

only warranted where Congress ‘base[s] its conclusions upon substantial

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evidence,’…and Congress’s predictive judgments are not ‘insulated from meaningful

judicial review.’” 696 F.3d at 1220 n.15 (quoting Turner Broad. Sys., Inc. v. FCC, 520 U.S.

180, 196 (1997), and Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 666 (1994)). Here, too,

FDA has not pointed to any evidence considered by Congress that would suggest that

less-restrictive versions would not be sufficiently effective.

              4.     For the same reasons, the Rule would also fail Zauderer.
       Even under Zauderer, the Rule violates the First Amendment because it is

“unjustified” and “unduly burdensome,” Zauderer, 471 U.S. at 651, and FDA has failed

to meet its burden to show otherwise, Ibanez, 512 U.S. at 146.

       The Zauderer factors align closely with the Central Hudson factors—indeed, as

then-Judge Kavanaugh has explained, “Zauderer is best read simply as an application of

Central Hudson” to compelled commercial disclosures, “not a different test altogether.”

Am. Meat, 760 F.3d at 33 (Kavanaugh, J., concurring in the judgment). “Even under

Zauderer, a disclosure requirement cannot be…unduly burdensome…and [may] extend

no broader than reasonably necessary.” NIFLA, 138 S. Ct. at 2377 (internal quotation

marks and citations omitted).

       Thus, the Rule fails under Zauderer for the same reasons it fails under Central

Hudson. ROA.10210-11. The Rule is unjustified because it fails to advance a legitimate

government interest, see supra 31-39, and it is unduly burdensome because it imposes

extreme burdens on speech and FDA failed to consider less-burdensome alternatives,

see supra 39-45.

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         Notably, the D.C. Circuit recently described text-only warnings that took a smaller

portion of cigar packaging and would cost far less to implement as “obtrusive and

expensive.” Cigar Ass’n of Am. v. FDA, 964 F.3d 56, 60, 62 (D.C. Cir. 2020). And the

Ninth and Seventh Circuits have invalidated far smaller text-only warnings for being too

burdensome. Am. Beverage Ass’n, 916 F.3d at 754 (applying Zauderer); Ent. Software, 469

F.3d at 652 & n.13. In short, it is no surprise that the draconian requirements imposed

by the Rule cannot survive any level of First Amendment scrutiny.

II.      THE RULE VIOLATES THE APA.

         Because the district court ruled in Plaintiffs’ favor on the First Amendment claim,

it did not address Plaintiffs’ other claims, including that the Rule violates the APA.

ROA.10212. However, as previously noted, supra n.2, this Court is free to affirm on

any ground. As shown below, the Rule violates the APA.

         A.    FDA Acted Arbitrarily and Capriciously.

         The APA directs courts to set aside agency action that is “arbitrary [and]

capricious.” 5 U.S.C. § 706(2)(A). FDA acted arbitrarily in at least three ways.

         First, an agency acts arbitrarily when it “offer[s] an explanation…that runs

counter to the evidence.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto.

Ins. Co., 463 U.S. 29, 43 (1983); see Sw. Elec. Power v. EPA, 920 F.3d 999, 1013, 1019 (5th

Cir. 2019). Agency action also must be supported by substantial evidence. See R.J.

Reynolds, 696 F.3d at 1218; Safe Extensions, Inc. v. FAA, 509 F.3d 593, 604 (D.C. Cir.

2007).

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       Here, the Rule fails these standards for the same reasons it fails First Amendment

review. See supra 15-46. Most significantly, the Rule lacks any evidence demonstrating

that the warnings will further FDA’s only asserted interest: “promot[ing] greater public

understanding” of smoking risks. 84 Fed. Reg. at 42,755. As noted above, FDA’s two

quantitative studies are deeply flawed and unreliable, and in any event their results

undermine the Rule. See supra 9-11, 22-25.

       Second, “when an agency decides to rely on a cost-benefit analysis as part of its

rulemaking, a serious flaw undermining that analysis can render the rule unreasonable.”

Idaho Conservation League v. Wheeler, 930 F.3d 494, 507 (D.C. Cir. 2019) (quotation marks

omitted); see also Nat’l Ass’n of Home Builders v. EPA, 682 F.3d 1032, 1040 (D.C. Cir.

2012). Here, FDA’s cost-benefit “analysis” expressly disclaimed any attempt to quantify

benefits.    ROA.1642.     This fundamental flaw renders the rule arbitrary.            See

ROA.1589-91.

       Third, a rule is arbitrary if the agency ignores reasonable alternatives. Chamber of

Commerce v. SEC, 412 F.3d 133, 144-45 (D.C. Cir. 2005); see also Sw. Elec. Power, 920 F.3d

at 1017-18, 1021-22. As noted above, FDA refused to evaluate several less-restrictive

alternatives.    See supra 39-45.   Instead, FDA considered only three alternative

approaches and provided no rational explanation for rejecting them. ROA.1549-60.

       B.       FDA Failed To Provide Meaningful Notice.

       FDA also violated the APA by withholding important information from the

public.     The APA requires that agencies publish a general notice of proposed

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rulemaking that includes “a description of the subjects and issues involved” in the

proposed rule. 5 U.S.C. § 553(b)(3). That notice must contain “sufficient factual detail

and rationale for the rule to permit interested parties to comment meaningfully.” Nat’l

Lifeline Ass’n v. FCC, 921 F.3d 1102, 1115 (D.C. Cir. 2019); see Phillips Petroleum Co. v.

Johnson, 22 F.3d 616, 620 (5th Cir. 1994), modified on other grounds, No. 93-1377, 1994 WL

484506 (Sept. 7, 1994). This includes “technical studies and data that [the agency] has

employed.” N. Am.’s Bldg. Trades Unions v. OSHA, 878 F.3d 271, 301 (D.C. Cir. 2017)

(per curiam) (brackets, emphasis, and quotation marks omitted); accord Kern Cnty. Farm

Bureau v. Allen, 450 F.3d 1072, 1076 (9th Cir. 2006).

      Here, FDA concealed vital information when it issued the Proposed Rule. The

Proposed Rule relied on three qualitative studies and two quantitative studies. See 84

Fed. Reg. at 42,765-72, 42,777-78. But FDA did not release the underlying data, or

even study reports, for the qualitative studies. Instead, FDA released only short

descriptions of the studies. 84 Fed. Reg. at 42,767, 42,771. FDA’s failure to release

these reports and data violates the “fairly obvious proposition that studies upon which

an agency relies in promulgating a rule must be made available during the rulemaking.”

Am. Radio Relay League, Inc. v. FCC, 524 F.3d 227, 237 (D.C. Cir. 2008). Additionally,

FDA did not release the final data sets from the quantitative studies, which would have

allowed Plaintiffs to examine the data quality and replicate FDA’s statistical analyses.

FDA concealed this information to avoid public criticism. ROA.2266. Commenters

promptly requested this information, but FDA failed to produce it before the comment

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period closed. See, e.g., ROA.7453-55, 7449-51.

      C.     FDA Failed To Provide a Meaningful Opportunity To Comment.

      FDA failed to provide sufficient time to comment on the qualitative study

reports. The opportunity to comment must be “meaningful,” Nat’l Lifeline Ass’n, 921

F.3d at 1115-17, and must include the chance to comment on the agency’s evidence,

Owner-Operator Indep. Drivers Ass’n v. Fed. Motor Carrier Safety Admin., 494 F.3d 188, 201

(D.C. Cir. 2007); see Phillips Petroleum, 22 F.3d at 620; 5 U.S.C. § 553(c). The failure to

“reveal portions of the technical basis for a proposed rule in time to allow for

meaningful commentary” is a “serious procedural error.” Solite Corp. v. EPA, 952 F.2d

473, 484 (D.C. Cir. 1991) (per curiam) (quotation marks omitted); accord Kern, 450 F.3d

at 1076.

      Here, FDA failed to release the qualitative study reports during the comment

period, despite FDA’s reliance on them. See supra 9-10. Nearly a month after the

comment period closed, however, FDA finally placed them in the docket. See 84 Fed.

Reg. at 60,966-68. FDA then gave the public just fifteen days to comment. Id.

      Courts have made clear that a fifteen-day comment period is inadequate. See, e.g.,

Nat’l Lifeline Ass’n, 921 F.3d at 1117 (two weeks inadequate); Prometheus Radio Project v.

FCC, 652 F.3d 431, 453 (3d Cir. 2011) (28 days); N.C. Growers’ Ass’n v. UFW, 702 F.3d

755, 770 (4th Cir. 2012) (10 days). FDA’s stingy comment period therefore violated

the APA.




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       D.      These Errors Were Prejudicial.

       The bar for showing APA prejudice is low, and Plaintiffs easily clear it. See Sierra

Club v. U.S. Fish & Wildlife Serv., 245 F.3d 434, 444 (5th Cir. 2001); U.S. Steel Corp. v.

EPA, 595 F.2d 207, 215 (5th Cir. 1979); Owner-Operator, 494 F.3d at 202-03.

       If the qualitative study reports had been released with the Proposed Rule, or if

FDA had reopened the comment period for sixty days, Reynolds’s experts could have

used the reports to deepen their analysis of whether the proposed warnings were

misleading or provoked negative emotions, and Reynolds’s survey expert could have

included additional survey questions. See, e.g., ROA.1632-38, 1648-49, 1653, 1657,

1645-46, 1660. More generally, Plaintiffs could have used the qualitative studies to

reinforce their argument in the rulemaking that the warnings were misleading and

provoked negative emotions. See supra 21-25; see also ROA.2221.

       Plaintiffs also suffered prejudice from FDA’s failure to timely release the

underlying data for all studies. See supra 9-10. That data provides evidence that the

warnings are confusing, misleading, and designed to provoke negative emotions. See

ROA.2231-55. In short, Plaintiffs could have mounted an even more “credible

challenge” to the Rule if FDA had complied with the APA. See Owner-Operator, 494 F.3d

at 202-03. 7




       7
        FDA’s arbitrary-and-capricious errors similarly are not harmless because each
bears on the substance of FDA’s decision. See Sierra Club, 245 F.3d at 444.

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III.   THE RULE VIOLATES THE TCA.

       The TCA has two subsections that, together, govern FDA’s ability to adjust the

Act’s warning statements: Section 201(a) (“Graphic label statements”) and Section

202(b) (“Change in required statements”).8 Section 201(a) says that FDA must “issue

regulations that require color graphics depicting the negative health consequences of

smoking to accompany the label statements specified in subsection (a)(1).” 15 U.S.C.

§ 1333(d)[1] (emphasis added). Section 202(b) allows FDA through rulemaking to

“adjust the format, type size, color graphics, and text of any of the label

requirements,…if the Secretary finds that such a change would promote greater public

understanding of the risks associated with the use of tobacco products.” Id. § 1333(d)[2].

       FDA violated the Act by changing the total number of warnings from nine to

eleven. Nothing in the statute allows FDA to create additional warnings. If Congress

had intended to authorize FDA to do that, it would have done so expressly, as it has

done elsewhere in the Food, Drug, and Cosmetic Act. See 21 U.S.C. § 343(q)(2)(A).

       Before the district court, FDA asserted that it had authority to change “any of

the label requirements”—including, apparently, in ways not specified by the statutory

text. ROA.2399. That interpretation makes no sense; Congress cannot delegate the

power to change the text it enacted. See, e.g., Clinton v. City of New York, 524 U.S. 417,



       8
         Two separate provisions of the TCA were codified as 15 U.S.C. § 1333(d). This
brief refers to them as Sections 201(a) and 202(b) and cites them as § 1333(d)[1] and
§ 1333(d)[2], respectively.

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439-40 (1998). And if FDA were right, then FDA would also be entitled to change the

warnings’ size and placement, which eliminates its excuse for not testing alternatives

that are not expressly contemplated by the TCA (an argument that is wrong in any event,

as explained above). And FDA’s interpretation does not limit the warnings to eleven—

it could dictate as many warnings as it wished.9

       Separately, FDA also violated the TCA by deleting seven of the Act’s textual

warnings and adding nine of its own. Section 201(a) allows FDA to make only minor

technical adjustments to the warnings’ text. And Section 202(b)’s broader grant of

power to adjust the warnings’ text kicks in only after FDA issues the graphic-warnings

rule required by Section 201(a). This can be seen, in part, from the fact that Section

202(b) also empowers FDA to adjust the warnings’ “color graphics”—which of course

would be impossible before a graphic-warnings rule is promulgated.

IV.    THE RELIEF ORDERED BY THE DISTRICT COURT IS APPROPRIATE.

       A.      The Rule Should Be Set Aside in Its Entirety.

       The government insists that any unlawful portions of the Rule should be severed.

Br. 58-63. The district court correctly rejected this argument. ROA.10212.




       9
         Chevron deference is inapplicable because FDA’s position is unambiguously
foreclosed by the text and FDA erroneously believed its authority was “plain from the
statute’s face.” See Peter Pan Bus Lines, Inc. v. Fed. Motor Carrier Safety Admin., 471 F.3d
1350, 1353-54 (D.C. Cir. 2006); 85 Fed. Reg. at 15,642-43.

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      1.     As an initial matter, severability is irrelevant because the entire Rule is

invalid on multiple grounds. To begin, the asserted interest supporting the entire Rule

is invalid. See supra 31-37. Additionally, no aspect of the Rule meaningfully advances

FDA’s asserted interest.    See supra 37-39.    Moreover, the entire Rule is unduly

burdensome. See supra 39-45. Additionally, Plaintiffs have shown that both the images

and the text are impermissibly misleading. See supra 21-25. Finally, Plaintiffs’ APA and

TCA arguments are not limited to the graphic portion of the warnings.

      2.     Even if FDA were right that the textual warnings are lawful, the district

court correctly noted that the TCA prohibits the images from being separated from the

textual warnings. ROA.10213. The TCA states that the graphic warnings must

“accompany” the textual warnings. 15 U.S.C. § 1333(d)[1]. Thus, Congress has

expressly decided that a graphic-warnings rule must involve both graphics and text, so

those two portions of the Rule cannot be severed from each other.

      The TCA’s general severability provision is not to the contrary. That general

provision is overcome here by the TCA’s specific mandate that graphic images and the

TCA’s textual warnings must accompany each other. See Navarro-Miranda v. Ashcroft,

330 F.3d 672, 676 (5th Cir. 2003). And in any event, the two provisions can—and thus

should—be harmonized. See United States v. Elrawy, 448 F.3d 309, 315 (5th Cir. 2006).

The severability provision says that if one “provision” of a regulation is invalid, the

remainder of the regulation should generally remain in effect. 21 U.S.C. § 387 note.

But here, the textual and graphic warnings are part of the same provision of the Rule:

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Section 1141.10(a), entitled “Required warnings.”         Thus, the general severability

provision is not even implicated here.

       3.     In short, FDA’s severability argument need only be considered if all of the

arguments in § IV.A.1, supra, are wrong—and, in any event, the Court may not sever

the graphics from the text, see supra § IV.A.2. As for invalidating only some of the

warnings but leaving others in effect, severance also would be inappropriate. In

particular, it would remain necessary to ask whether the regulation could “function

sensibly” in the absence of the invalidated portion. MD/DC/DE Broadcasters Ass’n v.

FCC, 253 F.3d 732, 734 (D.C. Cir. 2001); Chamber of Commerce v. U.S. Dep’t of Labor, 885

F.3d 360, 388 (5th Cir. 2018); see also R.J. Reynolds, 696 F.3d at 1222 (invalidating first

graphic-warnings rule in full, notwithstanding the TCA’s severability provision). 10

Indeed, the D.C. Circuit in MD/DC/DE Broadcasters rejected an argument that the court

could uphold a severed version of the rule when the agency “never once considered the

implications of promulgating [the] rule without [the invalid provision].” 253 F.3d at

736. Here, there is similarly no basis for saying the Rule would function sensibly (that

is, would be effective) if some warnings were invalidated, especially since FDA does

not know which warnings those would be. FDA is essentially asserting that any subset




       10
         Nor does the Rule’s severability provision counsel a different outcome. Rather,
“the ultimate determination of severability will rarely turn on the presence or absence
of [a severability clause in a regulation].” Community for Creative Non-Violence v. Turner,
893 F.2d 1387, 1394 (D.C. Cir. 1990) (internal quotation marks omitted).

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of its warnings could appropriately replace the Surgeon General’s warnings—including,

for example, solely the erectile-dysfunction warning. That is the opposite of sensible.

Moreover, FDA wishes the Court to uphold a set of warnings FDA did not consider in

isolation; this is not how severability works. See id.

       Likewise, even if the Court disagrees with the arguments in § IV.A.1, supra, and

considers severing the textual warnings from the graphic images, FDA has presented

no evidence that textual warnings could sensibly function on their own, because FDA

never even considered that question. The second quantitative study—on which FDA

heavily relies—did not test the textual warnings separately from the images. ROA.9519.

The Rule also provides no information as to what text-only graphic warnings would

look like. In short, FDA’s plea for severance is misplaced.

       4.     FDA’s arguments about why this Court should ignore the on-point

provision that requires the graphic and textual warnings to “accompany” each other are

wrong. To start, FDA denigrates that provision as a mere “logistical judgment.” Br.

62. But FDA offers no support for the proposition that Congress’s purportedly

“logistical” preferences can be disregarded. Indeed, under FDA’s suggested approach,

manufacturers would have to update the warnings by including large, new textual

warnings—the efficacy of which FDA has failed to assess—while FDA takes a third




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shot at creating constitutionally defensible images. It is entirely logical for Congress to

avoid such piecemeal regulation. 11

       FDA also attempts to escape the obvious import of the graphic-warnings

provision by pointing to a separate provision in a different statute relating to another

category of products, which requires textual but not graphic warnings for

smokeless-tobacco products. Br. 60-61 (citing 15 U.S.C. § 4402(a)(1)-(2)). If anything,

this provision highlights that Congress wanted graphic warnings to be coupled with

textual warnings for cigarettes—it understood how to mandate text-only warnings and

did so for smokeless-tobacco products. See 15 U.S.C. § 4402(a)(1)-(2).

       B.     A Vacatur Providing Nationwide Relief Is Appropriate.

       As the district court correctly concluded, and as FDA concedes, vacatur with

nationwide effect is required by this Court’s precedents. ROA.10214-20; Br. 64;

Franciscan All., Inc. v. Becerra, 47 F.4th 368, 374-75 (5th Cir. 2022). 12




       11
         FDA also wrongly relies (at 61) on a footnote in a dissent from a different
circuit. Discount Tobacco City & Lottery, Inc. v. United States, 674 F.3d 509, 527 n.5 (6th
Cir. 2012) (Clay, J., dissenting). Judge Clay was considering a different question
(whether the statutory graphic-warnings requirement can be severed from the rest of the
TCA). On that distinct issue, which “neither party brief[ed],” Judge Clay concluded
that the graphic-warnings provision is severable because Congress had previously
expanded and altered the textual warnings. That is not responsive to the TCA provision
requiring graphic warnings to accompany textual warnings.
        FDA does not argue that the declaratory judgment entered by the district court
       12

was an improper remedy.

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      The APA provides that a “reviewing court shall…hold unlawful and set aside

agency action…found to be” “arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law.” 5 U.S.C. § 706(2)(A). This ordinarily requires vacatur of

unlawful agency actions. See V.I. Tel. Corp. v. FCC, 444 F.3d 666, 671 (D.C. Cir. 2006);

Franciscan All., 47 F.4th at 374-75; Nat’l Mining Ass’n v. U.S. Army Corps of Eng’rs, 145

F.3d 1399, 1409 (D.C. Cir. 1998).

      FDA suggests that the TCA may counsel a different result here. See Br. 65. But

the TCA nowhere purports to displace the appropriate APA remedy (vacatur). Instead,

it merely governs what should occur if a more limited remedy is ordered. See 21 U.S.C.

§ 387 note.

      Indeed, FDA joined a motion to stay the Rule’s effective date, which asked the

district court to grant relief that runs to nonparties. ROA.1193. FDA can hardly argue

now that the court acted beyond its authority by issuing such relief.




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                                       CONCLUSION

       This Court should affirm the district court’s judgment.

July 12, 2023                                    Respectfully submitted,

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                         CERTIFICATE OF SERVICE

     I certify that on July 12, 2023, I served a copy of the foregoing on all counsel of

record by CM/ECF.

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                      CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume, typeface, and type-style requirements

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